                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:06 cr 165-20


UNITED STATES OF AMERICA                       )
                                               )
Vs.                                            )
                                               )           ORDER
                                               )
JED STUART WORKMAN.                            )
______________________________________         )


        THIS MATTER came before the undersigned pursuant to an oral motion

presented by Renae Alt-Summers, Defendant’s attorney, stating that Defendant had

requested she be allowed permission to withdraw as counsel for Defendant and

another attorney be appointed in her stead. At the call of this matter on for hearing

it appeared that the Defendant was present with his attorney, Ms. Alt-Summers and

the Government was present and represented through Assistant United States

Attorney, Tom Ascik. From the statements of Ms. Alt-Summers, the statements of

Defendant, and the arguments of Mr. Ascik, the Court makes the following findings.

        Findings. At the call of this matter, the undersigned brought to the attention

of the parties the fact that in hearing the oral motion, there might be disclosed

confidential communications between Defendant and Ms. Alt-Summers. Ms. Alt-

Summers confirmed that was a distinct possibility and as a result, the undersigned

sealed the proceeding in this matter and excluded all other persons from the

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courtroom other than the Defendant, Ms. Alt-Summers, and court personnel.

      The oral motion is presented at an extremely early stage in these proceedings,

that being immediately prior to the call of this matter for a preliminary hearing

pursuant to Rule 32.1B of the Federal Rules of Criminal Procedure, and for a

potential detention hearing.

      The undersigned made an inquiry as to the reasons why Defendant did not

wish for Ms. Alt-Summers to represent him further and that inquiry shall appear of

record in the sealed proceeding.

      Discussion. An indigent Defendant has no right to have a particular lawyer

represent him or her and can demand a different appointed attorney only with good

cause. US v. Allen, 789 F.2d 90, 92 (1st Cir. 1986). The determination of whether

or not a motion for substitution of counsel should be granted is within the discretion

of the trial court and the Court is entitled to take into account the countervailing state

interest in proceeding on schedule. Morris v. Slappy, 461 U.S. 1 (1983). In

considering the oral motion, the undersigned has considered the following factors:

(1) timeliness of the motion; (2) made an inquiry as to the reasons why Defendant

does not wish for Ms. Alt-Summers to represent him further; and (3) has attempted

to whether or not there is such a conflict between the Defendant and Ms. Alt-

Summers that is so great it has resulted in a total lack of communication preventing


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an adequate defense. United States v. Gallop, 838 F.2d 105 (4th Cir. 1988).

      The undersigned considers that this motion comes at an extremely early stage

in the proceedings in that it occurred immediately before a preliminary hearing and

detention hearing. This factor must be weighed in favor of granting the motion.

      The undersigned made an inquiry as to the reasons for the conflict between

the Defendant and Ms. Alt-Summers. That inquiry shall appear in the records of the

sealed proceeding. The conflict that exists is on behalf of Defendant and is not the

fault of Ms. Alt-Summers in any degree.

      The undersigned has further examined this matter to determine whether or not

there is such a conflict between Ms. Alt-Summers and the Defendant that there is a

total lack of communication between them preventing an adequate defense. The

undersigned has determined that such a conflict does exist and it exists only in the

mind of Defendant. Ms. Alt-Summers has performed admirably on behalf of

Defendant.

      After considering all of the above factors, it appears that the motion comes at

an early time and that as a result of the inquiry made by the undersigned, it appears

there is a lack of communication between Ms. Alt-Summers and Defendant that

would prevent an adequate defense, that being the communication of Defendant

with Ms. Alt-Summers.


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      Based upon the foregoing, the undersigned has determined to enter an order

allowing the motion to withdraw.

                                     ORDER

      IT IS, THEREFORE, ORDERED that the oral motion of Renae Alt-

Summers to withdraw as counsel for the Defendant is ALLOWED. It is also

ORDERED that the Federal Defender’s of North Carolina shall appoint substitute

counsel to represent the Defendant in this matter.



                                             Signed: August 27, 2015




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